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District/Off: 0536−3                       User: admin                             Date Created: 05/08/2019
Case: 15−30794                             Form ID: 3180W                          Total: 40


Recipients of Notice of Electronic Filing:
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tr          E. Eugene Hastings (Ch 13 Trustee)       ecftr@ch13monroe.com
aty         Elijah Orum Young, III         ecf@eorumyoung.com
                                                                                                                        TOTAL: 3

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Sharron Jackson        1618 Sth 9th Street        Monroe, LA 71202
cr          Recovery Management Systems Corporation              25 SE 2nd Avenue, Suite 1120          Miami, FL 33131−1605
smg         State of Louisiana, Department of Labor         Delinquent Accounts Unit,UI Tech Support            1001 North 23rd
            Street, Room 322         Baton Rouge, LA 70802
smg         Louisiana Department of Revenue and Taxation             Attn: Bankruptcy Division        P.O. Box 66658        Baton
            Rouge, LA 70896
6797478     Asset Recovery Solutions, LLC           2200 E. Devon Ave.          Suite 200        Des Plaines, IL 60018−4501
6886336     Atlantic Credit & Finance Special Finance         Unit LLC Successor in interest to         CITIBANK NA c/o
            Weltman, Weinberg & Reis           Co LPA 323 W. Lakeside Ave Cleveland OH               44113
6797479     Belk        POB 960012          Orlando, FL 32896−0012
6797480     Best Buy        POB 15519          Wilmington, DE 19850
7629841     Bureaus Investment Group Portfolio No 15 LLC             c/o PRA Receivables Management, LLC             PO Box
            41021         Norfolk VA 23541
6849757     Bureaus Investment Group Portfolio No 15 LLC             c/o Recovery Management Systems Corp            25 SE 2nd
            Avenue Suite 1120          Miami FL 33131−1605
6866564     Cerastes, Llc       C O WEINSTEIN & RILEY, PS                 2001 WESTERN AVENUE, STE 400                SEATTLE,
            WA 98121
6797481     Discover        POB 30395          Salt Lake City, UT 84130
6802604     Discover Bank         Discover Products Inc         PO Box 3025          New Albany, OH 43054−3025
6797482     E A Conway Medical Center           4864 Jackson Street          Monroe, LA 71202
6797483     Endoscopy Center          POB 1243          Monroe, LA 71210−1243
6797484     JC Penney         Post Office Box 3200         Orlando, FL 32890
6797485     Juniper (Visa)       Card Services         Post Office Box 13337          Philadelphia, PA 19101−3337
6797487     LSU Health         POB 33932          Shreveport, LA 71130−3932
6797486     Lowe's        Post Office Box 103080          Roswell, GA 30076
6840288     Midland Credit Management, Inc. as agent for           MIDLAND FUNDING LLC                 PO Box 2011        Warren,
            MI 48090
6797488     New York & Co.           POB 182782          Columbus, OH 43218−2782
6797489     Ouachita Parish Sheriff        400 St. John Street, Ste 301        Monroe, LA 71201
6905625     Portfolio Recovery Associates, LLC          POB 41067           Norfolk VA 23541
7337211     Portfolio Recovery Associates, LLC          POB 41067           Norfolk, VA 23541
6829517     Quantum3 Group LLC as agent for            Comenity Bank           PO Box 788         Kirkland, WA 98083−0788
6797490     Radiology Associates         1601 Lamy Lane           Monroe, LA 71201−3735
6802165     Recovery Management Systems Corporation              25 S.E. 2nd Avenue, Suite 1120          Miami, FL
            33131−1605
6797492     SST         4315 Pickett Rd.       Saint Joseph, MO 64503
6797491     Sears        POB 182149         Columbus, OH 43218
6797493     St. Francis Medical Center        Post Office Box 1243           Monroe, LA 71210
6905610     Synchrony Bank          c/o Recovery Management Systems Corp              25 SE 2nd Ave Suite 1120         Miami FL
            33131−1605
6890524     System & Services Technologies, Inc          4315 Pickett Road          St. Joseph, MO 64503
6797494     Target        POB 701         Chesterfield, MO 63006−0701
6943144     U S Department of Education          P O Box 16448           St. Paul, MN 55116−0448
6797495     UFCW           POB 5222         Carol Stream, IL 60197−5222
6797497     US Department of Education          POB 5609           Greenville, TX 75403−5609
6797496     Union Plus        POB 80028          Salinas, CA 93912−0028
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